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                           UNITED STATES COURT OF APPEALS
                            DISTRICT OF COLUMBIA CIRCUIT

MICHAEL SOLONDZ                                  )
                                                 )
                  PETITIONER,                    )
                                                 )      No. 24-1105
v.                                               )
                                                 )
FEDERAL AVIATION                                 )
ADMINISTRATION                                   )
                                                 )
                  RESPONDENT.                    )



 STATEMENT OF INTENT TO UTILIZE DEFERRED JOINT APPENDIX


         Pursuant to the Court’s Order on May 2, 2024, as revised by the Clerk’s

Order entered on June 3, 2024, Petitioner Michael Solondz hereby submits this

Statement of Intent to Utilize a Deferred Joint Appendix:

         Petitioner respectfully states that a deferred joint appendix will be utilized.

         July 23, 2024                     Respectfully submitted,


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                                CERTIFICATE OF SERVICE

         I hereby certify that on July 23, 2024, I electronically filed the foregoing

with the Clerk of the Court by using the appellate CM/ECF system. I certify that

the participants in the case are registered CM/ECF users and that service will be

accomplished by the appellate CM/ECF system.



                                                 /s/ Brandon R. Nagy ____________
                                                 Brandon R. Nagy, Esq.




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